         JOINT EXHIBIT LIST IN CIVIL ACTION NO. 22-CV-02886-JLK-MEH

           Brandon Pryor v. School District No. 1 d/b/a/ Denver Public Schools, et al

EX       DESCRIPTION             STIP. DATE DATE           OBJECTION              COURT USE
NO.                                    ADM. REJ.                                    ONLY

[1]   [Facebook Posts,
      Facebook Live Videos,       X
      Brother Jeff Show]

[2]   [DPS Governance             X
      Policies]

[3]   [DPS Email to STEAM         X
      Academy Families re
      Pryor (redacted)
      10.20.2022]

[4]   [DPS Community              X
      Update 10.18.2022]

[5]   [DPS Email Invitation to    X
      Brandon Pryor re
      Interviews for Executive
      Director of Equity &
      Culture 4.2.2019]

[6]   [Brandon Pryor              X
      Statement re Antoinette
      Hudson Investigation
      10.28.2021]

[7]   [Rachel Payne Email re      X
      Revised Covid Policy to
      Include School
      Founders’ Access to
      Schools 9.10.2021]

[8]   [DPS Recommendation         X
      for MCT Closure
      10.12.2022]




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[9]    [Video of Pryor,          X
       Carpenter, and Mendez
       10.12.2022]

[10]   [Public Comment List      X
       10.17.2022]

[11]   [Pryor Email to DPS re    X
       Reconsideration for
       Coaching 10.24.2019]

[12]   [Jennifer Holladay        X
       Statement to DPS re
       Banishment of Brandon
       Pryor 10.22.22]

[13]   [The Bailey Report, An    X
       Examination of Student
       and Educator
       Experiences in Denver
       Public Schools Through
       the Voices of African-
       American Teachers and
       Administrators, 2016]

[14]   [DPS BOE Resolution       X
       Temporary Facility
       Placement for STEAM
       Academy 11.19.2020]

[15]   [Pryor Email to Liz       X
       Mendes re DPS’
       Attempts to Dissuade
       Parents from Enrolling
       Students at STEAM with
       redacted screenshot of
       Facebook post
       2.19.2021]




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EX        DESCRIPTION             STIP. DATE DATE   OBJECTION   COURT USE
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[16]   [Fall 2022 Marrero          X
       Report re Strategic Map
       and Policy Governance
       10.17.2022]

[17]   [Innovation Plan            X
       Recommendation and
       Approval re STEAM
       Academy]

[18]   [DPS invitation to          X
       Brandon Pryor to Join
       Engagement Framework
       Work Group July 24,
       2020]

[19]   [Know Justice Know          X
       Peace Resolution
       10.22.2020.]

       [Photograph of Brandon      X
[20]   Pryor and Anthony
       Smith at STEAM
       Academy 10.13.2022.]

[21]   [Photos of Marrero and      X
       Pryor at Wu Tang
       concert and at Lindsay’s
       residence]

[50]   [Policy AC,                 X
       Nondiscrimination/Equal
       Opportunity]

[51]   [Regulation AC-R1,          X
       Procedures for the
       Investigation of
       Complaints or
       Harassment]




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[52]   [Policy GBGB, Personal     X
       Safety and Security]

[53]   [Policy KFA, Public        X
       Conduct on School
       Property]

[54]   [Regulation KFA-R,         X
       Regulation re: Public
       Conduct on School
       Property]

[55]   [Policy KI, Visitors to    X
       Schools]

[56]   [Investigation Report,     X
       November 18, 2021]

[57]   [Kayla Grayson-Yizar
       Letter, January 17,
       2019]

[58]   [Investigation Findings    X
       Report, June 24, 2021]

[59]   [Brent Jordheim Letter,    X
       January 13, 2022]

[60]   [Investigation Findings    X
       Report, September 28,
       2022]

[61]   [Aaron Thompson            X
       Letter, October 18,
       2022]

[62]   [Samantha Pryor Letter,    X
       October 26, 2022]

[63]   [Deborah L. Staten         X
       Letter, November 9,
       2022]



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[64]   [City of Aurora
       Municipal Court
       Disposition Screen
       Report]

[65]   [Register of Actions
       State of Texas v.
       Brandon Pryor
       Case No. F-2002-0802-
       A]
[66]   [Brandon Pryor             X
       Facebook Screenshot
       April 17]
[67]   [Brandon Pryor             X
       Facebook Messages to
       Nicky Yollick]

[68]   [Brandon Pryor             X
       Facebook Post re: Aaron
       Thompson October 21,
       2022]

[69]   [Dr. Antoinette Hudson
       Harassment Statement]

[70]   [Video 1860 Lincoln        X
       October 12, 2022]

[71]   [Video of Elevator         X
       Lobby October 12, 2022]

[72]   [Email from Donnovan
       Wiley dated October 21,
       2021, re: Parent
       Concern IMPORTANT]

[73]   [Email from Michelle
       Berge dated November
       10, 2021, re: Follow Up
       re: TB]



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[74]   [Email from Dr.
       Antoinette Hudson dated
       November 18, 2021, re:
       BP Video of the
       Investigation]

[75]   [Email from Brent
       Jordheim dated
       December 5, 2021, re:
       Introduction re DPR
       Investigation]

[76]   [Email from Neisa Lynch
       dated August 30, 2022,      X
       re: Miscommunication
       and inappropriate use of
       DPS students]

[77]   [Email from Gayle
       Egloff dated October 15,
       2021, re: Statement
       regarding Brandon
       Pryor filming in the
       library]

[78]   [Email from Dr.
       Antoinette dated
       December 3, 2021, re:
       Statement]

[79]   [Brandon Pryor
       Facebook Post “DPS          X
       NEEDS to FIRE
       ANTOINETTE
       HUDSON ASAP”]

[80]   [Brandon Pryor Text
       Messages October 23,       X
       2020]




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[81]   [Email Thread with
       Email from Brent            X
       Jordheim to Brandon
       Pryor dated October 21,
       2021, re: Complaint
       received by DPS]

[82]   [Brandon Pryor Email to
       Brent Jordheim dated        X
       December 5, 2021, re:
       Complaint received by
       DPS]

[83]   [Brandon Pryor Email
       thread with Email to Liz    X
       Mendez dated November
       9, 2021 and February
       19, 2021, re [EXT] Re:]
       at 9:31:20am

[84]   [Brandon Pryor Email
       thread with Email to Liz    X
       Mendez dated November
       9, 2021 and February
       19, 2021, re [EXT] Re:]
       at 9:31:39am

[85]   [Dana Risch Email to        X
       Brent Jordheim, Aaron
       Thompson dated October
       3, 2022, re: Brandon
       Pryor Conversation]

[86]   Email from Brent            X
       Jordheim dated
       February 7, 2022, re:
       Damian Brown
       Complaint]




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[87]   [Email from Kristin        X
       Bailey dated December
       3, 2021, re: New DPR
       complaint]

[88]   [Email thread from
       Brandon Pryor to
       Rhonda Blanford-Green,
                                  X
       dated November 13,
       2021, re: Clear Cut
       Discrimination]

[89]   [Email from Antoinette
       Hudson to David Vogel
       dated December 3, 2021,
       re: Statement]

[90]   [Investigation Closure    X
       Letter dated June 24,
       2021]

[91]   [Samantha Pryor Email
       to Brent Jordheim dated
       December 5, 2021 re:
       Complaint received by
       DPS]

[92]   [Email Exchange titled
       “Fwd” dated August 30,     X
       2022]

[93]   [Email from Cesar
       Cedillo to Antoinette
       Hudson dated February
       1, 2022]




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[94]   [Email thread from
       Brent Jordheim dated       X
       November 12, 2021, re:
       Attorney-Client
       Privilege]

[95]   [Email from Michael
       Eaton dated November
       20, 2021, re Attorney
       Client Privilege – B.
       Pryor Conduct]

[96]   [Recommended Decision
       from HR Brandon
       Pryor]

[97]   [Email from Justice
       Liberty dated April 6,
       2022, re: Brandon Pryor
       Making Threats]




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Dated this 5th day of December, 2022.

                     Respectfully submitted,

                     /s/ Samantha L. Pryor             .
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                     ATTORNEYS FOR DEFENDANTS




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                       CERTIFICATE OF SERVICE (CM/ECF)

       I HEREBY CERTIFY that on the 5th day of December, 2022, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will serve the following
counsel for the Plaintiff:

Samantha L. Pryor, Esq.
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                                                s/Nicole Marion, Legal Assistant
                                                Hall & Evans, L.L.C.




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